Case 2:10-md-02179-CJB-DPC Document 6709-1 Filed 06/19/12 Page1of1

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater * MDL No. 2170
Horizon” in the Gulf of Mexico, on *
April 20, 2012 * SECTION: J
*
* HONORABLE CARL J. BARBIER
*
* MAGISTRATE JUDGE SHUSHAN
CHARLES A. BOGGS * COURT NUMBER: 11988
*
Plaintiff, * CLAIMANT NUMBER: 27410
*
v. * SECTION: J
*
BP EXPLORATION & *
PRODUCTION INC., ET AL. * HONORABLE CARL J. BARBIER
*
Defendant * MAGISTRATE JUDGE SHUSHAN
ORDER

Considering the foregoing;
IT IS HEREBY ORDERED that Charles A. Boggs and Thomas E. Loehn of the firm of

Boggs, Loehn & Rodrigue be enrolled as counsel of record for plaintiff, Charles A. Boggs.

New Orleans, Louisiana, this day of , 2012.

JUDGE

